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 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1600
 4   Los Angeles, CA 90071
     Telephone: (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                              Hon. Phyllis J. Hamilton
14               Plaintiffs,                   ANSWER OF DEFENDANTS NSO
                                               GROUP TECHNOLOGIES
15         v.                                  LIMITED AND Q CYBER
                                               TECHNOLOGIES LIMITED
16   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
17                                             Action Filed: 10/29/2019
                 Defendants.
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 1           Defendants NSO Group Technologies Limited (“NSO”) and Q Cyber Technologies

 2   Limited (“Q Cyber”) answer the Complaint of Plaintiffs WhatsApp Inc. and Facebook, Inc.

 3 (collectively, “Plaintiffs”), as follows. (The paragraph numbering in paragraphs 1-78 of this

 4   Answer corresponds to the numbering in paragraphs 1-78 of the Complaint (Dkt. No. 1).)

 5                                          INTRODUCTION

 6           1.     Denied.

 7           2.     Defendants admit the Complaint includes allegations under headings referencing

 8   18 U.S.C. § 1030, California Penal Code § 502, and an alleged breach of contract. Plaintiffs’ claim

 9   alleging trespass to chattels has been dismissed by the Court, not re-pleaded by Plaintiffs, and is

10   no longer part of this action. To the extent Paragraph 2 of the complaint is intended as an accurate

11   statement of Plaintiffs’ motivation for bringing the action, it is denied. Moreover, as set forth

12   below, Defendants deny Plaintiffs have any valid claim under 18 U.S.C. § 1030, California Penal

13   Code § 502, or California law. Defendants further deny that Plaintiffs are entitled to any of their

14   requested relief, including that specified in paragraphs 1(a)-(d), 2(a)-(d), and 3-6 of the Request

15   for Relief.

16                                               PARTIES

17           3.     Defendants lack sufficient knowledge or information to form a belief as to the truth

18 of the allegations contained in Paragraph 3, and on that basis deny each and every allegation

19 contained therein.

20           4.     Defendants lack sufficient knowledge or information to form a belief as to the truth

21 of the allegations contained in Paragraph 4, and on that basis deny each and every allegation

22 contained therein.

23           5.     Defendants admit Defendant NSO Group was incorporated in Israel on January 25,

24 2010, as a limited liability company. Except as so admitted, defendants deny each and every

25 allegation contained in Paragraph 5 of the Complaint.

26           6.     Defendants admit Defendant Q Cyber was incorporated in Israel as alleged. Except

27 as so admitted, defendants deny each and every allegation contained in Paragraph 6 of the

28 Complaint.
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 1          7.      This paragraph contains legal conclusions for which no answer is required. To the

 2   extent an answer is required, Defendants deny the allegations in Paragraph 7.

 3                                    JURISDICTION AND VENUE

 4          8.      Defendants deny the Court has subject matter jurisdiction of this action and, in

 5   making this Answer, Defendants do not concede the Court has subject matter jurisdiction over this

 6   proceeding and reserve all rights to contest subject matter jurisdiction.

 7          9.      Defendants deny the Court has subject matter jurisdiction of this action and,

 8   accordingly, deny that the Court has supplemental jurisdiction over the remaining state law claim.

 9          10.     As above, Defendants deny the Court has subject matter jurisdiction of this action.

10          11.     Defendants deny they are subject to the personal jurisdiction of this Court, and in

11 making this Answer, Defendants do not concede they are subject to the personal jurisdiction of

12 this Court and reserve all rights to contest personal jurisdiction.

13          12.     As above, Defendants deny they are subject to the personal jurisdiction of this

14 Court.

15          13.     Defendants deny they are subject to the personal jurisdiction of this Court and on

16 that basis deny that venue is proper in this Judicial District.

17          14.     Defendants deny they are subject to the personal jurisdiction of this Court and that

18 the Court has subject matter jurisdiction over this proceeding. On that basis, Defendants deny that

19 this action is appropriately assigned to a division of the Court.

20                                     FACTUAL ALLEGATIONS

21          15.     Defendants admit “Facebook is a social networking website and mobile

22   application.” Except as so admitted, Defendants deny each and every allegation contained in

23   Paragraph 15 of the Complaint.

24          16.     Defendants lack sufficient knowledge or information to form a belief as to the truth

25   of the allegations contained in Paragraph 16 of the Complaint, and on that basis deny each and

26   every allegation contained therein.

27          17.     Defendants lack sufficient knowledge or information to form a belief as to the truth

28   of the allegations contained in Paragraph 17 of the Complaint, and on that basis deny each and
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 1   every allegation contained therein.

 2          18.     Defendants lack sufficient knowledge or information to form a belief as to the truth

 3   of the allegations contained in Paragraph 18 of the Complaint, and on that basis deny each and

 4   every allegation contained therein.

 5          19.     Defendants lack sufficient knowledge or information to form a belief as to the truth

 6   of the allegations contained in Paragraph 19 of the Complaint, and on that basis deny each and

 7   every allegation contained therein.

 8          20.     Defendants deny that Paragraph 20 completely or accurately quotes the WhatsApp

 9   terms of service.

10          21.     Defendants deny that Paragraph 21 completely or accurately quotes the WhatsApp

11   terms of service.

12          22.     Defendants deny that Paragraph 22 completely or accurately quotes the WhatsApp

13   terms of service.

14          23.     Defendants lack sufficient knowledge or information to form a belief as to the truth

15   of the allegations contained in Paragraph 23 of the Complaint, and on that basis deny each and

16   every allegation contained therein.

17          24.     Denied.

18          25.     Denied.

19          26.     Defendants admit that the content of the “media reports” referenced in the footnote

20   in Paragraph 26 can be found at the URLs included in that footnote. Except as so admitted,

21   Defendants deny each and every allegation contained in Paragraph 26 of the Complaint.

22          27.     Defendants admit the quoted language in the first sentence of Paragraph 27 appears

23   in Exhibit 10 to the Complaint. Except as so admitted, Defendants deny each and every allegation

24   contained in Paragraph 27 of the Complaint.

25          28.     Denied.

26          29.     Denied.

27          30.     Denied.

28          31.     This paragraph contains legal conclusions for which no answer is required. To the
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 1   extent an answer is required, Defendants deny the allegations in Paragraph 31 of the Complaint.

 2          32.     Denied.

 3          33.     Denied.

 4          34.     Denied.

 5          35.     Defendants admit the general definition of network protocols in the third sentence

 6   of Paragraph 35. Except as so admitted, Defendants deny each and every allegation contained in

 7   Paragraph 35 of the Complaint.

 8          36.     Denied.

 9          37.     Denied.

10          38.     Denied.

11          39.     Denied.

12          40.     Denied.

13          41.     Denied.

14          42.     Denied.

15          43.     Defendants admit that the content of the “public reporting” referenced in the

16   footnote in paragraph 43 can be found at one of the three URLs included in that footnote.

17   Defendants lack sufficient knowledge or information to form a belief as to the truth of the

18   allegations contained in Paragraph 43, and on that basis deny each and every allegation contained

19   therein.

20          44.     Defendants lack sufficient knowledge or information to form a belief as to the truth

21   of the allegations contained in Paragraph 44 of the Complaint, and on that basis deny each and

22   every allegation contained therein.

23          45.     Defendants lack sufficient knowledge or information to form a belief as to the truth

24   of the allegations contained in Paragraph 45 of the Complaint, and on that basis deny each and

25   every allegation contained therein.

26          46.     Denied.

27          47.     Denied.

28          48.     Denied.
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 1                                     FIRST CAUSE OF ACTION

 2                         (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)

 3           49.     Defendants repeat and incorporate their foregoing admissions and denials as if fully

 4   set forth herein.

 5           50.     Denied.

 6           51.     This paragraph contains a legal conclusion for which no answer is required. To the

 7   extent an answer is required, Defendants deny the allegations in this paragraph.

 8           52.     This paragraph contains a legal conclusion for which no answer is required. To the

 9   extent an answer is required, Defendants deny the allegations in this paragraph.

10           53.     Denied.

11           54.     Denied.

12           55.     Denied.

13           56.     Denied.

14           57.     Denied.

15                                   SECOND CAUSE OF ACTION

16                 (California Comprehensive Computer Data Access and Fraud Act,

17                                     California Penal Code § 502)

18           58.     Defendants repeat and incorporate their foregoing admissions and denials as if fully

19   set forth herein.

20           59.     Denied.

21           60.     Denied.

22           61.     Denied.

23           62.     Denied.

24           63.     Denied.

25           64.     Denied.

26           65.     Denied.

27           66.     Denied.

28   //
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 1                                     THIRD CAUSE OF ACTION

 2                                          (Breach of Contract)

 3           67.     Defendants repeat and incorporate their foregoing admissions and denials as if fully

 4   set forth herein.

 5           68.     Defendants lacks sufficient knowledge or information to form a belief as to the truth

 6   of the allegations contained in Paragraph 68 of the Complaint, and on that basis deny each and

 7   every allegation contained therein.

 8           69.     Denied.

 9           70.     Defendants lack sufficient knowledge or information to form a belief as to the truth

10   of the allegations contained in Paragraph 70 of the Complaint, and on that basis deny each and

11   every allegation contained therein.

12           71.     Denied.

13           72.     Denied.

14           73.     Denied.

15                                   FOURTH CAUSE OF ACTION

16                                         (Trespass to Chattels)

17           74.     Plaintiff’s Fourth Cause of Action alleging trespass to chattels has been dismissed

18   by the Court, not re-pleaded by Plaintiffs, and is no longer part of this action. To the extent any

19   response to this paragraph is required, the allegations therein are denied.

20           75.     Plaintiff’s Fourth Cause of Action alleging trespass to chattels has been dismissed

21   by the Court, not re-pleaded by Plaintiffs, and is no longer part of this action. To the extent any

22   response to this paragraph is required, the allegations therein are denied.

23           76.     Plaintiff’s Fourth Cause of Action alleging trespass to chattels has been dismissed

24   by the Court, not re-pleaded by Plaintiffs, and is no longer part of this action. To the extent any

25   response to this paragraph is required, the allegations therein are denied.

26           77.     Plaintiff’s Fourth Cause of Action alleging trespass to chattels has been dismissed

27   by the Court, not re-pleaded by Plaintiffs, and is no longer part of this action. To the extent any

28   response to this paragraph is required, the allegations therein are denied.
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 1           78.     Plaintiff’s Fourth Cause of Action alleging trespass to chattels has been dismissed

 2   by the Court, not re-pleaded by Plaintiffs, and is no longer part of this action. To the extent any

 3   response to this paragraph is required, the allegations therein are denied.

 4                                        REQUEST FOR RELIEF

 5           To the extent any response to the relief requested in the Complaint is required, Defendants

 6   deny Plaintiffs have any valid claim under 18 U.S.C. § 1030, California Penal Code § 502, or

 7   California law. Defendants further deny that Plaintiffs are entitled to any of their requested relief,

 8   including that specified in paragraphs 1(a)-(d), 2(a)-(d), and 3-6 of the Request for Relief.

 9                                DENIAL OF FACTS NOT ADMITTED

10           Except as admitted above, Defendants deny each and every allegation made in the

11   Complaint.

12                              SEPARATE AFFIRMATIVE DEFENSES

13           By alleging the Separate and Additional Defenses set forth below, Defendants do not

14   consent to this Court having subject matter jurisdiction over this action or personal jurisdiction

15   over Defendants, and expressly assert their right to contest subject matter jurisdiction and personal

16   jurisdiction. Defendants intend no alteration of the burden of proof and/or burden of going forward

17 with evidence that otherwise exists with respect to any particular issue at law or in equity.

18 Furthermore, all such defenses are pleaded in the alternative, and do not constitute an admission

19   of liability or that Plaintiffs are entitled to any relief whatsoever. Defendants are not asserting

20   defenses to any claims that have been dismissed with leave to amend and that Plaintiffs failed to

21   amend and therefore abandoned. Finally, Defendants may seek leave to amend these defenses, or

22   to add additional defenses, based upon legal theories, facts, and circumstances that may or will be

23   discovered and/or further legal analysis of Plaintiffs’ positions in this litigation.

24                         FIRST SEPARATE AND ADDITIONAL DEFENSE

25                                    (Superseding or Intervening Cause)

26           Plaintiffs’ claims are barred, in whole or in part, to the extent that the actions of Defendants’

27 customers in using the Pegasus technology identified in the Complaint constitute a superseding

28 and/or intervening cause for the damages, if any, alleged by Plaintiffs.
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 1                      SECOND SEPARATE AND ADDITIONAL DEFENSE

 2                                    (Comparative Fault / Contribution)

 3          Should Defendants be found liable to Plaintiffs, which liability is expressly denied,

 4 Defendants are entitled to have such award reduced or eliminated to the extent that other persons

 5 or entities or governments contributed to Plaintiffs’ injuries or damages. Alternatively, should

 6 Defendants be found liable to Plaintiffs, which liability is expressly denied, Defendants are entitled

 7 to contribution from any parties, persons, entities, or governments that are responsible for

 8 Plaintiffs’ injuries or damages.

 9                       THIRD SEPARATE AND ADDITIONAL DEFENSE

10                                            (No Legal Duty)

11          Plaintiffs’ claims are barred, in whole or in part, because Defendants did not owe any legal

12 duty to Plaintiffs under the causes of action alleged, because, among other things, Defendants were

13 not parties to, or bound by, Plaintiffs’ terms of service.

14                      FOURTH SEPARATE AND ADDITIONAL DEFENSE

15                                  (Failure to Join Indispensable Party)

16          Plaintiffs’ claims are barred, in whole or in part, to the extent that they have failed to join

17   one or more indispensable parties, including, but not limited to, the sovereign governments that

18   are Defendants’ customers.

19                        FIFTH SEPARATE AND ADDITIONAL DEFENSE

20                                          (Equitable Doctrines)
21          Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrines of waiver,

22   estoppel, laches, and/or unclean hands. These doctrines are based on at least the following facts:

23   Plaintiffs knew of and offered to purchase Defendants’ Pegasus technology prior to the events

24   identified in the Complaint; Plaintiffs have assisted law enforcement in developing at least one

25   “hacking” tool; Plaintiffs have historically been complacent about the security of WhatsApp; in

26   recent years WhatsApp has had a very large number of vulnerabilities and critical vulnerabilities;

27   the Facebook and WhatsApp applications have been used improperly to influence elections around

28   the world, to incite mob violence, to facilitate drug trafficking, and to organize and commit acts of
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 1   terrorism and serious crimes such as child pornography and child exploitation; and the manner in

 2   which Plaintiffs closed the vulnerability allegedly exploited by Defendants’ Pegasus technology

 3   unreasonably hindered law enforcement and intelligence operations around the world.

 4                        SIXTH SEPARATE AND ADDITIONAL DEFENSE

 5                                  (Good Faith / Legitimate Justification)

 6          Plaintiffs’ claims are barred on the grounds that Defendants acted in good faith and

 7   pursuant to legitimate law enforcement, national security, intelligence and business justifications.

 8                      SEVENTH SEPARATE AND ADDITIONAL DEFENSE

 9                                         (Compliance with Laws)

10          Defendants are absolved from any and all liability for the conduct alleged in the Complaint

11   by reason of its full compliance with all statutes, regulations, or other laws in effect at the time of

12   the conduct alleged in the Complaint.

13                        EIGHTH SEPARATE AND ADDITIONAL DEFENSE

14                 (Foreign Sovereign Immunity and Lack of Subject Matter Jurisdiction)

15          Defendants are immune from suit because they acted as agents of foreign sovereign

16 governments in respect of all conduct alleged in the Complaint, and the Court is without subject

17 matter jurisdiction.

18                        NINTH SEPARATE AND ADDITIONAL DEFENSE

19                                          (Personal Jurisdiction)

20          Defendants are not subject to the personal jurisdiction of this Court because they did not

21   purposely direct their conduct toward the state of California and did not purposely avail themselves

22   of the privilege of conducting activities in California.

23                        TENTH SEPARATE AND ADDITIONAL DEFENSE

24                                          (International Comity)

25          The claims of Plaintiffs are barred by the doctrine of international comity because the

26 actions of Defendants and their sovereign government customers were lawful under the laws of

27 the states where those actions occurred.

28 //
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 1                     ELEVENTH SEPARATE AND ADDITIONAL DEFENSE

 2                                            (Improper Venue)

 3          Venue is improper because no Defendant is subject to the Court’s personal jurisdiction

 4   with respect to this action.

 5                      TWELFTH SEPARATE AND ADDITIONAL DEFENSE

 6                                   (Forum Non Conveniens – Claims)

 7          The claims of Plaintiffs are barred by the doctrine of Forum Non Conveniens because Israel

 8 presents a superior alternative forum for Plaintiffs, who currently have a related action pending in

 9 Israel, while this forum is a seriously inconvenient one for Defendants. Among other reasons,

10   Defendants are Israeli companies with no employees in, or ties to, the United States; even willing

11 witnesses cannot be compelled to testify; the cost of bringing witnesses to a trial in this forum

12 would be exorbitant; a trial in this forum would be likely to involve many aspects of foreign law

13   with which the court is likely unfamiliar; and Israeli law prohibits certain evidence from leaving

14   Israel pursuant to Israel’s export control laws.

15                   THIRTEENTH SEPARATE AND ADDITIONAL DEFENSE

16                                         (Statute of Limitations)

17          Plaintiffs’ claims are barred to the extent that any applicable statute of limitations has

18   lapsed. The facts underlying this defense are entirely in Plaintiffs’ possession but will be subject

19   to discovery.

20                   FOURTEENTH SEPARATE AND ADDITIONAL DEFENSE

21                                                (Consent)

22          Plaintiffs’ claims are barred, in whole or in part, to the extent that the conduct alleged in

23   the Complaint was consented to and/or ratified through Plaintiffs’ offering of the WhatsApp

24   application and their consenting to users sending messages through the WhatsApp application,

25   including messages that originated from applications other than WhatsApp.

26                     FIFTEENTH SEPARATE AND ADDITIONAL DEFENSE

27                                             (Authorization)

28          Plaintiffs’ claims are barred, in whole or in part, to the extent Defendants’ alleged conduct
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 1   was authorized through Plaintiffs’ offering of the WhatsApp application and consenting to users

 2   sending messages through the WhatsApp application, including messages that originated from

 3   applications other than WhatsApp.

 4                    SIXTEENTH SEPARATE AND ADDITIONAL DEFENSE

 5                                               (Knowledge)

 6          Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs had full

 7   knowledge and/or awareness of the actions and occurrences that form the bases of the claims

 8   alleged in the Complaint. Among other things, Plaintiffs’ offer to buy Defendants’ Pegasus

 9   technology prior to the events alleged in the Complaint demonstrates their knowledge of the

10   capabilities of that technology.

11                  SEVENTEENTH SEPARATE AND ADDITIONAL DEFENSE

12                                           (Unjust Enrichment)

13          Relief for Plaintiffs is barred, in whole or in part, because the relief identified by Plaintiffs

14 would constitute unjust enrichment and a windfall to Plaintiffs.

15                   EIGHTEENTH SEPARATE AND ADDITIONAL DEFENSE

16                                          (Act of State Doctrine)

17          Plaintiffs’ claims are barred, in whole or in part, by the Act of State doctrine because any

18   actions undertaken by Defendants were entirely at the direction of Defendants’ sovereign

19   government customers.

20                   NINETEENTH SEPARATE AND ADDITIONAL DEFENSE

21                                               (Mitigation)

22          Plaintiffs’ recovery, if any, should be reduced to the extent they failed to mitigate their

23   damages through their own negligent conduct in publishing an application known to Plaintiffs to

24   contain vulnerabilities and/or failing promptly to remediate such vulnerabilities.

25                    TWENTIETH SEPARATE AND ADDITIONAL DEFENSE

26                                  (Avoidable Consequences Doctrine)

27          Plaintiffs’ recovery, if any, should be reduced to the extent they failed to take reasonable

28   actions to avoid losses in publishing an application known to Plaintiffs to contain vulnerabilities,
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 1   and/or failing promptly to remediate such vulnerabilities.

 2                  TWENTY-FIRST SEPARATE AND ADDITIONAL DEFENSE

 3                                    (Attorneys’ Fees Not Recoverable)

 4           Plaintiffs’ request for attorneys’ fee is barred, in whole or in part, to the extent it lacks any

 5 basis in law or contract.

 6                TWENTY-SECOND SEPARATE AND ADDITIONAL DEFENSE

 7                                   (Punitive Damages Not Recoverable)

 8           Plaintiffs are barred from recovering exemplary or punitive damages because the

 9   Complaint, and each purported cause of action asserted therein, fails to allege facts sufficient to

10   allow an award of punitive or exemplary damages from Defendants. Among other things, an award

11   of punitive damages requires clear and convincing evidence of fraud, oppression or malice, which

12   showing cannot be made, and therefore, no basis for an award of punitive damages exists.

13                  TWENTY-THIRD SEPARATE AND ADDITIONAL DEFENSE

14                                  (Punitive Damages – Unconstitutional)

15           To the extent Plaintiffs seek punitive or exemplary damages, the Complaint violates

16 Defendants’ right to due process protected under the Fifth and Fourteenth Amendments of the

17 United States Constitution and the right to protection against excessive fines under the Eighth

18 Amendment of the United States Constitution, and the analogous provisions contained in the

19 Constitution of the State of California.

20                TWENTY-FOURTH SEPARATE AND ADDITIONAL DEFENSE

21                       (Punitive Damages – Liability Standards Unconstitutional)

22           The imposition of punitive damages in this case would violate the Due Process Clauses of

23   the Fifth and Fourteenth Amendments to the United States Constitution because the standards of

24   liability for punitive damages in California are unduly vague and subjective, and permit

25   retroactive, random, arbitrary and capricious punishment that serves no legitimate governmental

26   interest.

27   //

28   //
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 1                 TWENTY-FIFTH SEPARATE AND ADDITIONAL DEFENSE

 2                      (Punitive Damages – Damages Standards Unconstitutional)

 3          The imposition of punitive damages in this case would violate the Due Process Clauses of

 4 the Fifth and Fourteenth Amendments to the United States Constitution because the California

 5 standards for determining the amount of the award are unduly vague and subjective, and permit

 6 arbitrary, capricious, excessive and disproportionate punishment that serves no legitimate

 7 governmental interest.

 8                 TWENTY-SIXTH SEPARATE AND ADDITIONAL DEFENSE

 9                     (Punitive Damages – Post-Verdict Review Unconstitutional)

10          The imposition of punitive damages in this case would violate the Due Process Clauses of

11   the Fifth and Fourteenth Amendments to the United States Constitution because California post-

12   verdict review procedures for scrutinizing punitive damage verdicts do not provide a meaningful

13   constraint on the discretion of juries to impose punishment.

14               TWENTY-SEVENTH SEPARATE AND ADDITIONAL DEFENSE

15                       (Punitive Damages – Absence of Procedural Safeguards)

16          The imposition of punitive damages in this case in the absence of the procedural safeguards

17   accorded to defendants subject to punishment in criminal proceedings, including a reasonable

18   doubt standard of proof, would violate the Fourth, Fifth, and Sixth Amendments and the Due

19   Process Clauses of the Fifth and Fourteenth Amendments to the United States Constitution.

20                TWENTY-EIGHTH SEPARATE AND ADDITIONAL DEFENSE

21                                 (Punitive Damages – First Amendment)

22          The imposition of punitive damages in this case would violate the First Amendment to the

23   United States Constitution.

24                 TWENTY-NINTH SEPARATE AND ADDITIONAL DEFENSE

25                  (Punitive Damages – Wealth or Financial Status Unconstitutional)

26          The imposition of punitive damages in this case based upon evidence of Defendants’

27   wealth or financial status would violate the Due Process Clauses of the Fifth and Fourteenth

28   Amendments to the United States Constitution.
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 1                     THIRTIETH SEPARATE AND ADDITIONAL DEFENSE

 2                              (Punitive Damages – Out-Of-State Conduct)

 3           The imposition of punitive damages in this case based on the out-of-state conduct, profits

 4   and aggregate financial status of Defendants would violate the Commerce Clause, the Equal

 5   Protection Clause, and the Privileges and Immunities Clause of the United States Constitution.

 6                    THIRTY-FIRST SEPARATE AND ADDITIONAL DEFENSE

 7                               (Punitive Damages – Absence of Malice)

 8           The imposition of punitive damages in this case in the absence of a showing of malicious

 9   intent to cause harm to the Plaintiffs would violate the Due Process Clauses of the Fifth and

10   Fourteenth Amendments to the United States Constitution.

11                   THIRTY-SECOND SEPARATE AND ADDITIONAL DEFENSE

12                                   (Punitive Damages – Jurisdiction)

13           The imposition of punitive damages in this case pursuant to California law to punish

14   Defendants for acts that occurred outside of California’s jurisdiction would violate the Due Process

15   Clauses of the Fifth and Fourteenth Amendments to the United States Constitution as well as the

16   Commerce Clause of the Constitution.

17                   THIRTY-THIRD SEPARATE AND ADDITIONAL DEFENSE

18                              (Punitive Damages – No Harm to Plaintiffs)

19           The imposition of punitive damages in this case based on conduct that did not harm

20   Plaintiffs would violate the Due Process Clauses of the Fifth and Fourteenth Amendments to the

21   United States Constitution as well as the Commerce Clause of the Constitution.

22                   THIRTY-FOURTH SEPARATE AND ADDITIONAL DEFENSE

23                               (Punitive Damages – Dissimilar Conduct)

24           The imposition of punitive damages in this case based on conduct dissimilar to the conduct

25   that allegedly harmed the Plaintiffs would violate the Due Process Clauses of the Fifth and

26   Fourteenth Amendments to the United States Constitution as well as the Commerce Clause of the

27   Constitution.

28   //
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 1                    THIRTY-FIFTH SEPARATE AND ADDITIONAL DEFENSE

 2                                     (Punitive Damages – Non-Parties)

 3          The imposition of punitive damages in this case to punish Defendants for alleged harm to

 4   nonparties and/or persons not before the Court would violate the Due Process Clauses of the Fifth

 5   and Fourteenth Amendments to the United States Constitution as well as the Commerce Clause of

 6   the Constitution.

 7                                                 PRAYER

 8          WHEREFORE, Defendants pray for the following relief:

 9          A.        That judgment on the Complaint, and on each cause of action, be entered in favor

10   of Defendants;

11          B.        That Plaintiffs take nothing by the Complaint;

12          C.        That the request for injunctive relief be denied;

13          D.        That Defendants be awarded their costs incurred, including reasonable attorneys’

14   fees; and

15          E.        For such other and/or further relief as this Court may deem just and proper.
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17   Dated: August 20, 2020                          KING & SPALDING LLP
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19                                                   By:     /s/Joseph N. Akrotirianakis
                                                             JOSEPH N. AKROTIRIANAKIS
20                                                           AARON S. CRAIG
21                                                           Attorneys for Defendants NSO GROUP
                                                             TECHNOLOGIES LIMITED and Q
22                                                           CYBER TECHNOLOGIES LIMITED

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       DEFENDANTS’                                      15                      Case No. 4:19-cv-07123-PJH
       ANSWER TO COMPLAINT
